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                        United States District Court
                     District of Puerto Rico (San Juan)
           CRIMINAL DOCKET FOR CASE #: 3:21−mj−01512−BJM−1

Case title: USA v. Alvarado−Reyes                          Date Filed: 12/10/2021

Assigned to: US Magistrate Judge
Bruce J. McGiverin

Defendant (1)
Luis Alvarado−Reyes                 represented by Diego H. Alcala−Laboy
                                                   Defensoria Legal LLC
                                                   PO Box 12247
                                                   San Juan, PR 00914
                                                   787−432−4910
                                                   Email: dalcala@defensorialegal.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: CJA Appointment

Pending Counts                                    Disposition
None

Highest Offense Level
(Opening)
None

Terminated Counts                                 Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                        Disposition
21:846 Conspiracy to Distribute
Narcotics − Cocaine



Interested Party
US Probation Office




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Plaintiff
USA                                          represented by Jose A. Contreras
                                                            United States Attorneys Office
                                                            District of Puerto Rico
                                                            Torre Chardon Suite 1201
                                                            350 Chardon Ave
                                                            San Juan, PR 00918
                                                            787−766−5656
                                                            Fax: 787−772−4012
                                                            Email: jose.a.contreras@usdoj.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: AUSA Designation

 Date Filed   # Page Docket Text
 12/10/2021   1       Rule 5 Documents Received as to Luis Alvarado−Reyes (1). (Attachments: # 1
                      Arrest Warrant) (bgl) (Entered: 12/14/2021)
 12/10/2021           Arrest of Luis Alvarado−Reyes (1). (gyr) (Entered: 12/15/2021)
 12/10/2021   2       Minute Entry for proceedings held before US Magistrate Judge Bruce J.
                      McGiverin: Initial Appearance in Rule 5(c)(3) Proceedings as to Luis
                      Alvarado−Reyes (1) held on 12/10/2021 via VTC. Present were AUSA Jose
                      Contreras, Atty. Diego Alcala and USPO Jorge Mateo. Defendant was present
                      and assisted by a certified court interpreter. The defendant waived his right to
                      appear physically at the hearing and consented to proceed by way of VTC.
                      Defendant was advised as to the charges contained in the indictment from the
                      Southern District of New York. The defendant was also advised of the applicable
                      minimum and maximum statutory penalties that he is exposed to if convicted of
                      the charges in the indictment. Upon the defendant's request, the Court deemed it
                      appropriate to appoint counsel. CJA counsel has already been appointed to
                      represent the defendant in Cr. 21−359 (PAD). Attorney Diego Alcala will be
                      appointed to represent the defendant for these removal proceedings. Counsel
                      informed that the defendant waives the identity and removal hearings and
                      requests for the detention hearing to be held in this district. Defense counsel is
                      granted ten (10) days to file the signed waiver form. Preliminary
                      Examination is set for 12/23/2021 at 02:00 PM via VTC Bridge BJM before
                      US Magistrate Judge Bruce J. McGiverin. By not later than December 21,
                      2021 defense counsel shall file a motion informing whether the defendant
                      will waive his right to a preliminary hearing. As to detention, AUSA
                      Contreras informed that, although the USAO for the Southern District of New
                      York is requesting detention as to this defendant, the Puerto Rico USAO does not
                      object to the defendant being released under the same conditions that were
                      granted in Cr. 21−359 (PAD). Further arguments were made regarding
                      precedence. Defense counsel offered arguments in favor of release. Having heard
                      the parties, and taking into consideration the recommendation of the Pretrial
                      Services Office, the Court allowed the defendant to remain under the same
                      conditions of release imposed in Cr. 21−359 (PAD), which include home
                      detention with electronic monitoring, pending the Preliminary Examination. A
                      Further Bail Hearing will be held on 12/23/2021 at 2:00 PM, regardless of


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                   the preliminary examination being waived or deemed moot by an
                   indictment. The U.S. Probation Office is ordered to prepare a Pretrial
                   Services Report for the hearing. (Court Reporter BJM Zoom.) Hearing held at
                   04:32. Hearing ended at 04:44. Interpreter Olga Uribe. (gyr) (Entered:
                   12/15/2021)
12/10/2021         CJA 20 as to Luis Alvarado−Reyes (1): Appointment of Attorney Diego H.
                   Alcala−Laboy for Luis Alvarado−Reyes. Signed by US Magistrate Judge Bruce
                   J. McGiverin on 12/10/2021. (gyr) (Entered: 12/15/2021)
12/10/2021   3     ORDER Setting Conditions of Release as to Luis Alvarado−Reyes (1) Bail is set
                   in the amount of $10,000 unsecured. The defendant is to reside with his brother.
                   Signed by US Magistrate Judge Bruce J. McGiverin on 12/10/2021.(mg)
                   (Entered: 12/15/2021)
12/10/2021   4     *RESTRICTED* Appearance Bond Entered as to Luis Alvarado−Reyes (1) Bail
                   is set in the amount of $10,000 unsecured. The defendant is to reside with his
                   brother. (mg) (Entered: 12/15/2021)
12/20/2021   5     MOTION for Extension of Time to File document by Luis Alvarado−Reyes (1).
                   Responses due by 1/3/2022. NOTE: Pursuant to FRCP 6(a) an additional three
                   days does not apply to service done electronically. (Alcala−Laboy, Diego)
                   (Entered: 12/20/2021)
12/21/2021   6     WAIVER of 5(c)(3) Hearing by Luis Alvarado−Reyes (1) (Alcala−Laboy,
                   Diego) (Entered: 12/21/2021)
12/21/2021   7     MOTION to Vacate Bail Hearing by USA as to Luis Alvarado−Reyes (1).
                   Responses due by 1/4/2022. NOTE: Pursuant to FRCP 6(a) an additional three
                   days does not apply to service done electronically. (Contreras, Jose) Modified on
                   12/22/2021 to edit docket title text (mg). (Entered: 12/21/2021)
12/22/2021   8     ORDER granting 5 Motion for Extension of Time to File as to Luis
                   Alvarado−Reyes (1).Signed by US Magistrate Judge Bruce J. McGiverin on
                   December 22, 2021. (McGiverin, Bruce) (Entered: 12/22/2021)
12/22/2021   9     ORDER granting 7 Motion to Vacate Bail Hearing as to Luis Alvarado−Reyes
                   (1): I deem that the defendant is the person named in the criminal complaint and
                   arrest warrant issued out of the Southern District of New York, and that there is
                   probable cause he committed the offense charged. Matter set for consideration by
                   the grand jury. Defendant to remain released under the same conditions imposed
                   in Cr. 21−359 (PAD). Defendant shall appear as required for any proceedings set
                   in the Southern District of New York. Identity, Preliminary and Bail Hearings
                   set for 12/23/2021 are vacated. So ordered. Signed by US Magistrate Judge
                   Bruce J. McGiverin on 12/22/2021. (bgl) (Entered: 12/22/2021)




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                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
   Plaintiff,                                          Criminal no. 21-mj-1512 (BJM)
                v.

 LUIS ALVARADO REYES
   Defendant.

         MOTION FOR AN EXTENSION OF TIME TO FILE WAIVER DOCUMENTS
TO THE HONORABLE COURT:

          Comes now the defendant, Mr. Alvarado Reyes, and respectfully states and prays as follows:

             1) On December 10, 2021, Mr. Alvarado Reyes informed the Court of his intent to

                 waive the Rule 5 (c)(3) hearing. (See Docket Entry #2)

             2) The Court then requested that Mr. Alvarado Reyes files the signed waiver

                 documentation within ten days.

             3) Mr. Alvarado Reyes informs that due to logistical issues, it is necessary to request a

                 brief extension of time to file the corresponding documentation.

             4) Mr. Alvarado Reyes is currently scheduled to appear before this Court on December

                 23, 202, for a preliminary hearing.

          WHEREFORE, Mr. Alvarado Reyes respectfully requests that this motion is granted and

that the Court extends the deadline until December 23, 2021, to file the Rule 5 Waiver

documentation.

RESPECTFULLY SUBMITTED.

          In San Juan, Puerto Rico, this 20th day of December 2021.

          I HEREBY CERTIFY, that on this date the present document has been filed electronically

and is available for viewing and downloading from the Court’s CFM/ECF system by U.S. Attorney’s

Office.




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                       s/Diego H. Alcalá Laboy
                       Diego H. Alcalá Laboy
                           PO Box 12247
                        Tel.: (787) 432-4910
                       USDC-PR No. 300504
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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA,
Plaintiff,
                                                           CRIMINAL NO. 21-1512 (M)
               v.

LUIS ALVARADO-REYES,
Defendant.



                          UNITED STATES’ MOTION TO VACATE

TO THE HONORABLE COURT:

        COMES NOW the United States of America, by and through the undersigned attorney,

respectfully states and prays as follows:

        1.     On December 10, 2021, an Initial Appearance in Rule 5(c)(3) Proceedings was held

based on a criminal complaint filed against defendant in the Southern District of New York.

(ECF No. 2).    The Government informed that the United States Attorney’s Office for the

Southern District of New York (USAO-SDNY) was requesting detention, but the United States

Attorney’s Office for the District of Puerto Rico (USAO-PR) did not object to the defendant being

released under the same conditions that were granted in Criminal No. 21-359 (PAD).        (ECF No.

2).   The Court allowed the defendant to remain under the same conditions of release imposed in

Criminal No. 21-359 (PAD).      (ECF No. 2).   The Court set the Preliminary Hearing and Further

Bail Hearing for December 23, 2021. (ECF No. 2).

        2.     On December 21, 2021, defendant filed a written waiver of his right to a

preliminary hearing. (ECF No. 6).

        3.     The Government has been informed by the USAO-SDNY that it no longer seeks

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detention in this case and agrees that defendant remain under the same conditions of release

imposed in Criminal No. 21-359 (PAD).      Therefore, a further bail hearing is no longer necessary.

        WHEREFORE, the United States respectfully requests that this Honorable Court vacate the

Preliminary Hearing and Further Bail Hearing scheduled in this case.

        RESPECTFULLY SUBMITTED. In San Juan, Puerto Rico, this 21st day of December,

2021.


                                             W. STEPHEN MULDROW
                                             United States Attorney

                                             s/José A. Contreras
                                             José A. Contreras
                                             Assistant United States Attorney
                                             USDC No. G00612
                                             350 Carlos Chardón Avenue, Suite 1201
                                             San Juan, Puerto Rico 00918




                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 21st day of December, 2021, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to all parties in this case.


                                             s/José A. Contreras
                                             José A. Contreras
                                             Assistant United States Attorney




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